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                                                                             f(SPACE BELOW FOR FILING STAMP ONLY)

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 4

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 6    Attorney for Defendant, SADOL DIAZ-BELTRAN

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 9                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
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                                                     ******
11
      UNITED STATES OF AMERICA,                             Case No.: 1:18-CR-00246 DAD BAM
12
                       Plaintiff,                           AMENDED EX PARTE APPLICATION
13                                                          FOR ORDER TO MODIFY TERMS OF
             v.                                             DEFENDANT’S PRETRIAL RELEASE;
14                                                          DECLARATION OF ROGER D.
15    SADOL DIAZ-BELTRAN,                                   WILSON; ORDER.

16                     Defendant.

17
             Defendant SADOL DIAZ-BELTRAN by and through his counsel, ROGER D.
18
      WILSON, applies Ex Parte to the Court for an order modifying the terms of his pretrial release.
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             This amended application is based on the attached Declaration of Roger Wilson and
20
      upon the records on file in the instant action.
21
             Respectfully submitted,
22
       Dated:      July 10, 2019             By:                /s/ Roger D. Wilson
23
                                                                    ROGER D. WILSON
24                                                   Attorney for Defendant SADOL DIAZ-BELTRAN

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                AMENDED EX PARTE APPLICATION TO MODIFY TERMS OF PRETRIAL RELEASE; ORDER.               1
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 1                              DECLARATION OF ROGER D. WILSON

 2           I, Roger D. Wilson, declare as follows:

 3           1.      I am an attorney at law licensed to practice in the State of California and the

 4    United States District Court for the Eastern District of California, and am counsel of record for

 5    Defendant SADOL DIAZ-BELTRAN in the above-referenced case.

 6           2.      On or about November 8, 2018, Mr. Sadol Diaz-Beltran was charged with

 7    conspiracy to distribute and to possess with intent to distribute methamphetamine and heroin, in

 8    violation of 21 U.S.C. §§ 846 and 841(a)(1) [Count One] and possession with intent to

 9    distribute methamphetamine and heroin in violation of 21 U.S.C. § 841(a)(1) [Count Two].
10           3.      On or about December 10, 2018, Mr. Diaz-Beltran was ordered released from jail

11    and placed on terms and conditions of pretrial release. One of those terms related to Mr. Diaz-

12    Beltran’s curfew. Mr. Diaz-Beltran has complied with the terms and conditions of his pretrial

13    release.

14           4.      Mr. Diaz-Beltran would like to modify the term of his pretrial release related to

15    his curfew as explained in Paragraph 7, below.

16           5.      Mr. Diaz-Beltran and I discussed this modification with Mr. Diaz-Beltran’s

17    Probation and Pretrial Services Officer, Matthew S. Carter. Officer Carter approved of the

18    requested modification for Mr. Diaz-Beltran.

19           6.      On or about July 5, 2019, I discussed the proposed modification with Assistant

20    United States Attorney (AUSA) Angela Scott. AUSA Scott replied to me that the Government

21    has “no objection” to the request.

22           7.      On July 10, 2019, I again discussed the proposed modification with Matthew S.

23    Carter, U.S. Probation and Pretrial Services Officer, and also with Mr. Frank Guerrero,

24    Intensive Supervision Specialist, U.S. Pretrial Services, and was advised the proposed

25    modification would be to existing Condition 7(I) located on page 2 of the Order Setting

26    Conditions of Release. Further, Specialist Guerrero explained that the condition requiring Mr.
27    Diaz-Beltran to participate in the Home Detention component of the Location Monitoring

28    Program with electronic monitoring or other location verification system shall be modified


                 AMENDED EX PARTE APPLICATION TO MODIFY TERMS OF PRETRIAL RELEASE; ORDER.         2
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 1    from the Home Detention component to the Curfew component of the Location Monitoring

 2    Program. The proposed new language shall be:

 3           “CURFEW: You are restricted to your residence every day from 9:00 pm to
             6:00 am, or as adjusted by the Pretrial Services office or supervising officer, for
 4
             medical, religious services, employment or court-ordered obligations. All other
 5           conditions not in conflict with this order shall remain in full force and effect.”

 6           8.     Therefore, Mr. Diaz-Beltran respectfully requests that the Court grants his
 7    request and modify the term of his pretrial release as explained in Paragraph 7, above.
 8           I declare under penalty of perjury that the foregoing is true and correct.
 9           Executed July 10, 2019, in Fresno, California.
10                                                          /s/ Roger D. Wilson
                                                                ROGER D. WILSON
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               AMENDED EX PARTE APPLICATION TO MODIFY TERMS OF PRETRIAL RELEASE; ORDER.            3
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 1                                                  ORDER

 2             This matter, having come before the Court on Defendant SADOL DIAZ-BELTRAN’s

 3    Amended Ex Parte application to modify the terms and conditions of his pretrial release, and

 4    for good cause shown, IT IS HEREBY ORDERED:

 5             Condition 7(I) located on page 2 of the Order Setting Conditions of Release is modified

 6    to:

 7             “CURFEW: You are restricted to your residence every day from 9:00 pm to
               6:00 am, or as adjusted by the Pretrial Services office or supervising officer, for
 8
               medical, religious services, employment or court-ordered obligations. All other
 9             conditions not in conflict with this order shall remain in full force and effect.”

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      IT IS SO ORDERED.
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      Dated:     July 11, 2019                                       /s/   Sheila K. Oberto              .
                                                          UNITED STATES MAGISTRATE JUDGE
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                AMENDED EX PARTE APPLICATION TO MODIFY TERMS OF PRETRIAL RELEASE; ORDER.             4
